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 EXHIBIT 18
                                                                              Filing Number:
                                Case 5:24-cv-00703-PCP Document 20-18 Filed 03/29/24 Page 2 of 2802634214
                                                   Texas Franchise Tax Public Information Report

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           F ""'
                 05-102
          m:ownss(Rev.9-11/30)
                   ■ Tcode 13196 Franchise
                                             To be filed by Corporations, Limited Liability Companies (LLC)and Financial Institutions
                                                This report MUST be signed and filed to satisfy franchise tax requirements


■ Taxpayer number                                                          ~■-R_e...;p_o_rt-'y;.,.e_a_r~-~ You have certain rights under Chapter 552 and 559, Government Code,
                                                                                                          to review, request, and correct information we have on file about you.
    3 2            0 6 2           6 8 7 2                1 8                   2       0      1 9        Contact us at (800) 252-138/or (512) 463-4600.
Taxpayer name
                      PRODUCT ASSOCIATION TECHNOLOGIES, LLC
 Mailing address                                                                                                                                Secretary of State (505) file number or
'"=-____         2_5_7_0_0_IN_T_E_R_S_T_A_T_E_4_5_S~T_E_4_1_1_9
                                             ______      ~~~--~~--------icomptroller                                                                         file number
 City                                  State              ZIP Code            Plus 4
                   THE WOODLANDS                                           TX                             77386                                                0802634214
Q         Blacken circle if there are currently no changes from previous year; if no information is displayed, complete the applicable information in Sections A, Band C.
Principal office
                     1801 NE 123rd St. #314, North Miami, FL 33181
Principal place of business
                     1801 NE 123rd St. #314, North Miami, FL 33181
               ,     J. ,J_       Officer, director and manager information is reported as of the date a Public Information
'PIIPII11(11        lllllt;,I     Report is completed. The information is updated annually as part of the franchise tax
-                          -      report. There is no requirement or procedure for supplementing the information as
                                  officers, directors, or managers change throughout the year.
SECTION A Name, title and mailing address of each officer, director or manager.                                                                            3206268721819
Name                                                                    Title                                             Director                         m       m       d       d       y        y
                                                                                                                                        Term           I
    LEIGH M ROTHSCHILD                                                                  MANAGER                           •    YES
                                                                                                                                        expiration             I       I       I       I        I
Mailing address                                                         City                                                            State                         ZIP Code
    1574 NE QUAYSIDE TERR                                                                             MIAMI                                        FL                I     33138
Name                                                                    Title                                             Director                         m       m    d    d  y                   y

                                                                                                                          Q YES         Term
                                                                                                                                        expiration
                                                                                                                                                       I
                                                                                                                                                               I       I       I       I        I
Mailing address                                                         City                                                            State                          IZIP Code

Name                                                                    Title                                             Director                         m       m       d       d       y        y

                                                                                                                          Q YES         Term
                                                                                                                                        expiration
                                                                                                                                                       I
                                                                                                                                                               I       I       I       I        I
Mailing address                                                         City                                                            State                          IZIP Code

SECTION B Enter the information required for each corporation or LLC,if any, in which this entity owns an interest of 1O percent or more.
Name of owned (subsidiary) corporation or limited liability company                         State of formation                Texas SOSfile number, if any Percentage of ownership

Name of owned (subsidiary) corporation or limited liability company                         State of formation                Texas SOSfile number, if any Percentage of ownership


SECTION C Enter the information required for each corporation or LLC,if any, that owns an interest of 1O percent or more in this entity or limited
          liability company.
Name of owned (parent) corporation or limited liability company                             IState of formation               ITexas SOSfile number, if anylPercentage of ownership


Registered agent and registered office currently on file. (see instructions if you need to make changes)                        Blacken circle if you need forms to change
Agent:      INCORPORATEMAX                                                                                                0     the registered agent or registered office information.

Office:    25700 1-45 NORTH #4119                                                                            THE WOODLANDS                         IState   TX             IZIP C~~~
                                                                                                                                                                                           86

The above information is required by Section 171.203 of the TaxCodefor eachcorporation or limited liability company that files a TexasFranchiseTax Report.Useadditional sheets
for SectionsA, B,and C, if necessary.The information will be availablefor public inspection.
I declarethat the information in this document and any attachments is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has
been mailed to each person named in this report who is an officer, director or managerand who is not currently employed by this, or a related,corporation or limited liability company.

sign ►                                                                              Title                             pate                              Area code and phone number
here Leigh Rothschild                                                               r          Electronic             I        05-09-2019              I( 954) 328 - 1931
                                                                 Texas Comptroller Official Use Only

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